        Case 1:14-cr-00030-JRH-BKE Document 158 Filed 07/06/16 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT

                       FOR THE SOUTHERN DISTRICT OF GEORGIA

                                      AUGUSTA DIVISION

SAINTWAIN RONNIE ROBERTS,                        )
                                                 )
                 Petitioner,                     )
                                                 )
         v.                                      )           CV 116-096
                                                 )           (Formerly CR 114-030)
UNITED STATES OF AMERICA,                        )
                                                 )
                 Respondent.                     )
                                            _________

                                            ORDER
                                            _________

         Let a copy of this Report and Recommendation be served upon counsel for the

parties. Any party who objects to this Report and Recommendation or anything in it must

file, not later than July 25, 2016, written objections specifically identifying the portions of

the proposed findings and recommendation to which objection is made and the specific basis

for objection.1 The Clerk will submit this Report and Recommendation together with any

objections to United States District Judge J. Randal Hall, on July 26, 2016. Failure to file

specific objections within the specified time means that this Report and Recommendation

may become the opinion and order of the Court, Devine v. Prison Health Servs., Inc., 212 F.

App’x 890, 892 (11th Cir. 2006), and may limit a party’s appellate rights. Dupree v.

Warden, 715 F.3d 1295, 1300 (11th Cir. 2013).




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    A copy of the objections must be served upon all other parties to the action.
      Case 1:14-cr-00030-JRH-BKE Document 158 Filed 07/06/16 Page 2 of 2




       Requests for extension of time to file objections to this Report and Recommendation

shall be directed to Judge Hall.

       A party may not appeal a Magistrate Judge’s recommendation directly to the United

States Court of Appeals for the Eleventh Circuit. Appeals may be made only from a final

judgment entered by the District Judge.

       SO ORDERED this 6th day of July, 2016, at Augusta, Georgia.




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